Case 1:06-cr-00021-IMK-JSK Document 88 Filed 06/19/08 Page 1 of 9 PageID #: 249




                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


BARBARA KIMBLE,

              Petitioner,


v.                                                         Civil Action No. 1:07cv104
                                                           Criminal Action No. 1:06cr21(2)
                                                           (Judge Keeley)

UNITED STATES OF AMERICA,

              Respondents.


                     OPINION/REPORT AND RECOMMENDATION

       On August 3, 2007, the pro se petitioner filed a Motion under 28 U.S.C. § 2255 to

Vacate, Set Aside or Correct Sentence by a Person in Federal Custody. The United States filed a

response to the petition on October 26, 2007. On February 22, 2008, the petitioner filed a Reply

motion, along with a Memorandum in Support to the United States’ Response. This case is

before the undersigned for a preliminary review and report and recommendation pursuant to LR

PL P 83.01, et seq., and Standing Order No. 4.

I.     Procedural History

A.     Conviction and Sentence

       On May 25, 2006, the petitioner signed a plea agreement by which she agreed to plead

guilty to Count Sixteen of the Indictment charging her with aiding and abetting another person in

unlawfully, knowingly, and intentionally possessing with the intent to distribute approximately 7

grams of cocaine base, known as ‘crack,” in violation of Title 21, United States Code, Sections

841(a)(1) and 841(b)(1)(B), and Title 18, United States Code, Section 2. See Plea Agreement
Case 1:06-cr-00021-IMK-JSK Document 88 Filed 06/19/08 Page 2 of 9 PageID #: 250




(dckt. 49) ¶ 1. In the plea agreement, both parties stipulate that on or about October 24, 2005, at

or near Clarksburg, Harrison County, West Virginia, the petitioner, aided and abetted by James

Dean, unlawfully, knowingly and intentionally possessed with the intent to distribute

approximately 7 grams of cocaine base, also known as “crack.” Id. at ¶ 9. Additionally, both

parties stipulated and agreed that the defendant’s total relevant conduct in this case was at least

150 grams but less than 500 grams of cocaine base, some of which involved a protected location.

Id. On September 27, 2006, the petitioner was sentenced to 135 months imprisonment with

credit for time served from May 17, 2006, and supervised release for 4 years. See Sentencing

Order (dckt. 60) pp. 1-2.

B.     Direct Appeal

       The petitioner did not file a direct appeal of her conviction and sentence.

C.     Federal Habeas Corpus

       Petitioner’s Contentions

       (1) Ineffective assistance of counsel for

               (a) failing to show petitioner the audio and video discovery materials;

               (b) failing to object to the pre-sentence report upon request of petitioner;

               (c) failing to request that the Court give petitioner credit for time served on the

               state sentence she was serving at the time of her sentencing in the present case;

               (d) failing to correct pre-sentencing report as requested by the petitioner; and

       (2) Petitioner’s rights were violated because she was not served with a copy of the search

               warrant.




                                                   2
Case 1:06-cr-00021-IMK-JSK Document 88 Filed 06/19/08 Page 3 of 9 PageID #: 251




       Government’s Contentions

       (1) Petitioner was afforded the opportunity to view audio and video discovery materials;

       (2) Petitioner was adequately informed regarding her pre-sentence report and possible

       sentence;

       (3) The Court did make a sentencing recommendation regarding time served;

       (4) Petitioner’s counsel corrected any pre-sentencing report mistakes; and

       (5) Petitioner’s rights were not violated because she was not served with a copy of the

       search warrant.

II.    Analysis

A.     Ineffective Assistance of Counsel                       .

       In Strickland v. Washington, 466 U.S. 668 (1984), the Supreme Court of the United

States established a two-part test for determining whether a convicted person is entitled to relief

on the ground that his counsel rendered ineffective assistance. The first prong of the test

requires that petitioner demonstrate that counsel’s performance was deficient and “fell below an

objective standard of reasonableness.” Strickland at 688. The second prong requires the

petitioner to show that the deficient performance prejudiced the defense. Id. at 687. In order to

satisfy the prejudice requirement of the two-prong test set forth in Strickland, defendant must

show that “counsel’s errors were so serious as to deprive the defendant of a fair trial, a trial

whose result is reliable.” Lockhart v. Fretwell, 506 U.S. 364 (1993).

       In addition, “a defendant who alleges ineffective assistance of counsel following the

entry of a guilty plea has an even higher burden to meet.” Hill v. Lockhart, 474 U.S. 52, 53-59

(1985). In the case of a guilty plea, the defendant must show that “there is a reasonable


                                                  3
Case 1:06-cr-00021-IMK-JSK Document 88 Filed 06/19/08 Page 4 of 9 PageID #: 252




probability that, but for counsel’s errors, he would not have pleaded guilty and would have

insisted on going to trial.” Hill v. Lockhart, 474 U.S. 52, 59 (1985) (footnote omitted); Hooper

v. Garraghty, 845 F.2d 471, 475 (4th Cir. 1988). “A reasonable probability is a probability

sufficient to undermine confidence in the outcome.” Strickland 466 U.S. at 694.



         It is further noted that a Court must indulge a strong presumption that counsel’s conduct

falls within the wide range of reasonably professional assistance. Strickland 466 U.S. at 689-90.

Moreover, there are no absolute rules in determining what is reasonable performance. See Hunt

v. Nuth, 57 F.3d 1327, 1332 (4th Cir. 1995) (counsel’s representation is viewed on the facts of a

particular case and at the time of counsel’s conduct).

       (1) Failing to Show Petitioner the Audio and Video Discovery Materials

       In the first portion of her motion, petitioner contends that her counsel was ineffective

because he did not show her nor make her aware of the audio and video recordings created

during the investigation of her case. Petitioner suggests that the recordings were exculpatory

evidence and that her rights were violated because she was not given copies of them by counsel

or the government. In Brady v. Maryland, 373 U.S. 83, 87 (1963), the Supreme Court stated that

“the suppression of evidence favorable to an accused upon request violates due process where

the evidence is material either to guilt or to punishment, irrespective of the good faith or bad

faith of the prosecution.” Evidence is deemed “material if there is a reasonable probability that,

had the evidence been disclosed . . . the result of the proceeding would have been different.”

Strickler v. Greene, 527 U.S. 263, 280,(1999), citing United States v. Bagley, 473 U.S. 667

(1985). Furthermore, the Court went on in Strickler to note:


                                                 4
Case 1:06-cr-00021-IMK-JSK Document 88 Filed 06/19/08 Page 5 of 9 PageID #: 253




                       [T]here are three components of a true Brady violation:
                       The evidence at issue must be favorable to the accused,
                       either because it is exculpatory, or because it is impeaching;
                        that evidence must have been suppressed by the State, either
                       willfully or inadvertently; and prejudice must have ensued.


Id. at 281-282.

       On April 12, 2006, the United States submitted a memorandum to petitioner enclosing its

disclosure of Rule 16 material. See Gov. Response (dckt. 8) Ex. A. This disclosure included all

documents in the United States’ possession, as well as seventeen CDs-Rom which contained the

audio and video recordings produced during the investigation of petitioner’s case. Id. The

United States advised in its memorandum that it was offering an “open file policy” to petitioner

in her case. Id. Hence, petitioner’s counsel was given copies of all evidence obtained by the

government, plus was given access to any additional evidence that the government may obtain.

       On June 8, 2006, petitioner entered a plea of guilty to Count 16 of the indictment,

charging her with possession with intent to distribute crack cocaine. During the plea hearing,

petitioner’s counsel advised that he could not find a defense to the charges brought against

petitioner, especially since there were digital recordings of the drug transactions. See Transcript

of Plea Hearing (dckt. 75) pp. 29-30. Petitioner was present at the plea hearing. Petitioner did not

dispute that the audio and video recordings existed. Furthermore, petitioner did not suggest that

she had failed to review the discovery items when making an informed decision to plead guilty.

Therefore, the record fails to support her argument that she did not know about the recording.

       In the present action, the petitioner offers no evidence to support her claims that she did

not see or hear the recordings. Moreover, the petitioner has not met her burden of proving that

the result of her proceeding would have been different if she had seen those items. The

                                                 5
Case 1:06-cr-00021-IMK-JSK Document 88 Filed 06/19/08 Page 6 of 9 PageID #: 254




recordings depicting petitioner selling crack cocaine, are not favorable to her. Additionally, the

recordings were not suppressed by government. Last, petitioner offers no evidence that even if

the government had failed to disclose the recordings, petitioner would have been prejudice by

the action. Therefore, petitioner’s contention lacks merit.

       (2) Failing to Object to the Pre-sentence Report Upon Request of Petitioner

       In the second portion of her motion, petitioner claims that her counsel was ineffective

when he failed to object to the pre-sentence report. Again, petitioner’s contention goes against

the record. According to the record, petitioner’s counsel did not file objections to the pre-

sentence report. However, counsel did file a Sentencing Memorandum (dckt.#52) on August 15,

2006. Additionally, at the sentencing hearing, petitioner’s counsel adamantly argued for

petitioner to receive a lighter sentence. Counsel argued that, prior to 2002, petitioner had no

criminal history and that her criminal activity only began after she became addicted to crack

cocaine following some tragic events in her life. See Sentencing Transcript (dckt. 75) pp.49-52.

Counsel further argued that because of those circumstances, the Court should make a downward

departure from the Sentencing Guidelines and sentence petitioner to a lesser term of

imprisonment. Id. After concluding that the circumstances in petitioner’s case did not warrant a

downward departure, the Court sentenced her to 135 months of incarceration at the lowest end of

the Guideline Range. Id. at 53-54. The irrefutable facts of the record show that petitioner’s

counsel did argue against the findings in the pre-sentence report. Thus, petitioner’s contention

that he did not is not supported by the record.

       Further, at the Rule 11 hearing, the Court specifically asked petitioner if she understood

that by entering the plea of guilty, she would be sentenced to a mandatory minimum of five


                                                  6
Case 1:06-cr-00021-IMK-JSK Document 88 Filed 06/19/08 Page 7 of 9 PageID #: 255




years. See Transcript of Plea Hearing (dckt 75) p. 15. Further, the Court advised petitioner that

it would not be bound by the United States’ recommendations made in the plea agreement, that

petitioner would be sentenced to “at least five years” and that no one could predict the sentence

that petitioner would receive. Id. at 16-17; 29. Petitioner advised that she understood. Id.

Furthermore, the Court meticulously explained that petitioner’s sentence could be higher than

the five-year mandatory minimum and that, if the Court did impose a higher sentence, petitioner

could not withdraw her plea of guilty; petitioner replied that she understood. Id. at 23.

        (3) Failing to Request That the Court Give Petitioner Credit for Time Served on the
        State Sentence Petitioner was Serving at the Time of Her Sentencing in the Present Case

        At sentencing, a district court does not have the authority to award credit for time served.

United States v. Wilson, 503 U.S. 329, 333 (1992). Because [18 USC] § 3585(b) bases the credit

on how much time a defendant “has spent” (as opposed to ‘will have spent’) prior to beginning

his sentence, the District Court could not compute the amount of credit at sentencing. . . . Id.

[Section] 3585(b) does not authorize a district court to compute the credit at sentencing. Id. at

334. It is well settled that “[a]fter a district court sentences a federal offender, the Attorney

General, through the BOP, has the responsibility for administering the sentence” and for

computing the amount of time served. Id. at 335; 18 USC § 3621(a). In this case, the Court

ordered that petitioner be given credit for time served from May 17, 2006. See Sentencing Order

(dckt. 60) p 2. Therefore, the Attorney General and not the Court will determine the amount of

credit to be awarded toward petitioner’s sentence. Therefore, petitioner’s claim lacks merits.

        (4) Failing to Correct Pre-Sentence Report as Requested by the Petitioner

        In this ground, the petitioner again merely makes a self-serving claim that counsel failed

to correct the pre-sentence report as requested by the petitioner. Again, as in subsection (2),

                                                   7
Case 1:06-cr-00021-IMK-JSK Document 88 Filed 06/19/08 Page 8 of 9 PageID #: 256




petitioner has failed to provide sufficient evidence that counsel’s performance was deficient in

this regard, or that even if it was, the outcome of the proceedings would have been different. As

mentioned previously, during the sentencing hearing, petitioner’s counsel adamantly argued for

petitioner’s case. Further, petitioner filed a thorough and, as the Court noted on the record, a

well-written Sentencing Memorandum detailing the petitioner’s personal history and position on

sentencing. Last, petitioner was able to freely and openly speak at her sentencing hearing

regarding her past history, thus curing any inadequacies. See Sentencing Transcript (dckt. 75)

pp.47-49. Hence, petitioner’s contention is frivolous and should be dismissed.

B.     Failure to Serve Search Warrant

       In this ground, petitioner complains that she was not provided a copy of the

search warrant that was executed upon her residence during the investigation of her case. As in

the previous ground regarding the video and audio materials seized, petitioner seems to suggest

that the search warrant was exculpatory evidence and that her rights were violated because she

was not given a copy of the document by the government. The same case law governing

petitioner’s audio/visual contentions is applicable. See Brady; Strickler.

        Again, as in the previous section, petitioner’s assertion goes against her own recollection

of the facts. Respondent’s reply shows that the petitioner signed the Property Receipt form as the

owner of the items seized during the execution of the search warrant. See Gov. Response (dckt.

8) Ex. B. The receipt clearly shows that petitioner was present at the time of the search, and she

was served a copy of the warrant at that time. Therefore, petitioner’s contention that she was not

served with a copy of the search warrant is false and should be dismissed.

III.   Recommendation


                                                 8
Case 1:06-cr-00021-IMK-JSK Document 88 Filed 06/19/08 Page 9 of 9 PageID #: 257




          For the reasons set forth herein, the undersigned recommends that the Court enter an

Order DENYING petitioner’s § 2255 motion and DISMISSING this case with prejudice.

          Within ten (10) days after being served a copy of this Opinion/Recommendation, any

party may file with the Clerk of the Court written objections identifying the portions of the

Recommendations to which objections are made, and the basis for such objections. A copy of

such objections shall also be submitted to the Honorable Irene M. Keeley, United States District

Judge. Failure to timely file objections to the Recommendations set forth above will result in

waiver of the right to appeal from a judgment of this Court based upon such Recommendations.

28 U.S.C. § 636(b)(1); Thomas v. Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th

Cir. 1985); United Stats v. Schronce, 727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208

(1984).

          The Clerk is directed to send a copy of this Opinion/Report and Recommendation to the

pro se petitioner by certified mail, return receipt requested, to his last known address as shown

on the docket. The Clerk is further directed to provide copies of this Opinion/Report and

Recommendation to counsel of record via electronic means.

          DATED: June 18, 2008

                                                      ]É{Ç fA ^tâÄÄ
                                                      JOHN S. KAULL
                                                      UNITED STATES MAGISTRATE JUDGE




                                                  9
